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                                             #:1543



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 9
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DISTRICT
11
                                                          Case No.: 2:24-cv-02886-WLH
12   DAVID HOUGH; ET AL
13
                                                          Assigned for all purposes to:
                         Plaintiffs,                      JUDGE WESLEY L. HSU
14

15
                                                          JURISDICTIONAL DEFENDANTS
                                                          RYAN CARROLL; MAX K. DAY;
16   v.                                                   MAX O. DAY; MICHAEL DAY;
17                                                        YAX ECOMMERCE LLC;
                                                          PRECISION TRADING GROUP,
18                                                        LLC; AND WA DISTRIBUTION
19                                                        LLC’S CONFIRMATION OF
                                                          COMPLIANCE LETTERS TO
20   RYAN CARROLL; ET AL                                  COURT
21
                           Defendants.
22                                                        Action Filed: April 9, 2024
23                                                        Trial Date: N/A

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                                                     -1-
     JURISDICTIONAL DEFENDANTS’ CONFIRMATION OF COMPLIANCE LETTERS TO COURT
Case 2:24-cv-02886-WLH-SK            Document 84 Filed 07/04/24           Page 2 of 2 Page ID
                                           #:1544



 1          COME NOW SPECIALLY APPEARING DEFENDANTS RYAN
 2
     CARROLL; MAX K. DAY; MAX O. DAY; MICHAEL DAY; YAX
 3

 4 ECOMMERCE LLC; PRECISION TRADING GROUP, LLC; and WA

 5 DISTRIBUTION LLC (“Defendants”), and hereby informs the Court by filing

 6
     Defendants’ Confirmation of Compliance Letters. See July 1, 2024 and July 3, 2024
 7

 8 Letters attached.

 9
10

11   Dated: July 4, 2024.                                Respectfully submitted,
12                                                       By: /s/ William H. Shibley
13                                                       William H. Shibley

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20                                CERTIFICATE OF SERVICE
21
           I hereby certify that a true and correct copy of the foregoing document, and
22
     any attachments, will be served to counsel of record, in accordance with the
23   governing rules of procedure regarding service in this court on this July 4, 2024, via
     email as follows:
24

25
                                                         /s/ William H. Shibley
26
                                                         William H. Shibley
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                                                     -2-
     JURISDICTIONAL DEFENDANTS’ CONFIRMATION OF COMPLIANCE LETTERS TO COURT
